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AO 245B (Rev. 09/19) (VAE 01/22) Judgment in a Criminal Case
Sheet 1

 

UNITED STATES DISTRICT COURT
Eastern District of Virginia
Alexandria Division

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

v. Case Number: 1:20-CR-18-1

ANDY TOVAR, USM Number: 94213-083
Joseph King, Esquire
Edward Ungvarsky, Esquire

a/k/a "Fearless" Defendant's Attorney

Nee ee ee eee eee”

The defendant entered pleas of nolo contendere as to Counts | and 2 and pleaded guilty to Counts 4, 5, 7, 9, and 12 of the
Third Superseding Indictment.

The defendant is adjudged guilty of these offenses:

Title and Section Nature of Offense Offense Ended Count

18 U.S.C. § 1962(d) Conspiracy to Participate in a Racketeering Enterprise 8-2019 Iss

18 U.S.C. § 1959(a)(5) Conspiracy to Commit Murder in Aid of Racketeering 7-5-2017 2ss
Activity

18 U.S.C. § 1959(a)(5) Conspiracy to Commit Murder in Aid of Racketeering 8-13-2019 4ss

Activity
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Case Number: 1:20-CR-18-1
Defendant’s Name: TOVAR, ANDY

Title and Section Nature of Offense Offense Ended Count

21 U.S.C. §§ 841(a)(1) and 846 ~=Conspiracy to Distribute Cocaine 8-2019 5ss

18 U.S.C. §§ 1959(a)(5) and2 Attempted Murder in Aid of Racketeering Activity 8-12-2019 7ss

18 U.S.C. §§ 1959(a)(3) and2 Assault with a Dangerous Weapon in Aid or 8-12-2019 Oss

Racketeering Activity
18 U.S.C. §§ 924(c}1)(A)Gii) Using and Discharging a Firearm During a Crime of 8-12-2019 12ss
and 2 Violence

The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

Counts in the First Superseding Indictment, and Second Superseding Indictment Olis & are dismissed on the motion of
the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

September 27, 2022
Date of Impositiow6f Ju

  
 

 

Anthony J. Trenga

 

  

Signature of Judge

Anthony J. Trenga, Senior United States District Judge
Name and Title of Judge

9/27/2022
Date
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Sheet 2 - Imprisonment

 

Case Number: 1:20-CR-18-1
Defendant’s Name: TOVAR, ANDY

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

term of LIFE as to Count 1, ONE HUNDRED AND TWENTY (120) MONTHS as to each Count 2, 4, and 7, to run concurrently to
each other and all other Counts, TWO HUNDRED AND FORTY (240) MONTHS as to each Count 5 and 9, to run concurrently to each
other and all other Counts, and ONE HUNDRED AND TWENTY (120) MONTHS as to Count 12, to run consecutively to all other
Counts.

The Court makes the following recommendations to the Bureau of Prisons:
1.

The court makes the following recommendations to the Bureau of Prisons:

CJ The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at _, with a certified copy of this Judgment.
UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
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Sheet 3 — Supervised Release

 

Case Number: 1:20-CR-18-1
Defendant’s Name: TOVAR, ANDY

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of FIVE (5) YEARS as to Counts 1, 5,
and 12, and THREE (3) YEARS, as to Counts 2, 4, 7, and 9, all to run concurrently.

MANDATORY CONDITIONS

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You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

O The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
abuse. (check if applicable)

4. O You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

5. © You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6. © You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. (1 You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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Sheet 3 — Supervised Release

 

Case Number: 1:20-CR-18-1
Defendant’s Name: TOVAR, ANDY

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
the probation officer.

. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

Defendant's Signature Date
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Sheet 3A — Supervised Release

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Case Number: 1:20-CR-18-1
Defendant’s Name: TOVAR, ANDY

SPECIAL CONDITIONS OF SUPERVISION

1) The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritances, judgments,
and any anticipated or unexpected financial gains to any outstanding court-ordered financial obligation, or in a
lesser amount to be determined by the Court, upon the recommendation of the probation officer.

2) The defendant shall provide the probation officer access to any requested financial information.

3) If the defendant tests positive for controlled substance or shows signs of alcohol abuse, the defendant shall participate
in a program approved by the United States Probation Office for substance abuse, which program may include
residential treatment and testing to determine whether the defendant has reverted to the use of drugs or alcohol, with
partial cost to be paid by the defendant, all as directed by the probation officer.

4) The defendant shall participate in a program approved by the United States Probation Office for mental health
treatment. The cost of this program is to be paid by the defendant as directed by the probation officer.

5) The defendant shall not communicate or associate with, by any means, any known member or associate of a
criminal street gang, including, but not limited to, La Mara Salvatrucha (MS-13).
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Sheet 5 — Criminal Monetary Penalties

 

Case Number: 1:20-CR-18-1
Defendant’s Name: TOVAR, ANDY

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

AVAA JVTA
Assessment* Assessment**
TOTALS $ 700 $ TBD $ $ $

Assessment Restitution Fine

Payments of Restitution are to made payable to the Clerk, United States District Court, Eastern District of Virginia.
